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(Revised 3/00)                        CLERK'S COURTROOM MINUTE SHEET

                                        CASE NO. 06-20056-13-KHV

CAPTION:                                                 APPEARANCES:

UNITED STATES OF AMERICA                                 Kim I. Martin

                         vs.

ROBERT COLE, JR.                                         James L. Spies


Judge: VRATIL                  Clerk: South            Reporter: Hallberg         Location: Kansas City




Date: January 8, 2007

Type of Proceeding: Motion hearing.


#209 - Motion to withdraw of James L. Spies - Sustained. Court will appoint new counsel.
